     Case 2:24-cr-00091-ODW    Document 72    Filed 05/22/24   Page 1 of 7 Page ID #:1127



1     DAVID C. WEISS
      Special Counsel
2     LEO J. WISE
      Principal Senior Assistant Special Counsel
3     DEREK E. HINES
      Senior Assistant Special Counsel
4     SEAN F. MULRYNE
      CHRISTOPHER M. RIGALI
5     Assistant Special Counsels
            950 Pennsylvania Avenue NW, Room B-200
6           Washington, D.C. 20530
            Telephone: (771) 217-6090
7           E-mail:      christopher.rigali2@usdoj.gov
            Attorneys for the United States
8
      Attorneys for Plaintiff
9     UNITED STATES OF AMERICA
10
                              UNITED STATES DISTRICT COURT
11
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
      UNITED STATES OF AMERICA,                   No. CR 2:24-cr-00091-ODW
13
                 Plaintiff,                       GOVERNMENT’S OPPOSITION TO
14
                        v.                        DEFENDANT’S SECOND RENEWED
15                                                EMERGENCY EX PARTE MOTION FOR
       ALEXANDER SMIRNOV,                         (1) PROVISION OF EYE DROPS, AND
16
                 Defendant.                       (2) MEDICAL FURLOUGH
17

18
            Defendant Alexander Smirnov (“Defendant”) filed a second renewed emergency
19
      motion yesterday seeking the immediate provision of eye drops to Defendant and a
20
      medical furlough during which Defendant may pursue surgery with his doctor, Dr. Tanaka.
21
      ECF No. 70. This afternoon, defense counsel—for the first time—clarified which eye
22
      drops they believe Defendant needs, naming three prescriptions. ECF No. 71. Thereafter,
23
      government counsel was able to confirm that Defendant, through Santa Ana City Jail, has
24
      in fact been receiving two of these prescriptions, and counsel for Defendant (Mr.
25
      Chesnoff) just confirmed to government counsel that Defendant is indeed already getting
26
      two of these prescriptions (but stated it is Dr. Tanaka’s view that Defendant needs all
27
      three).
28
     Case 2:24-cr-00091-ODW     Document 72         Filed 05/22/24   Page 2 of 7 Page ID #:1128



1           In any event, the motion should be denied. As explained below, the government
2     understands that Defendant is being moved (imminently) to a different prison facility
3     where the U.S. Marshals Service expects he will have access to medical care he needs.
4     Defendant’s extraordinary request for a medical furlough should be denied for the reasons
5     set forth in its prior filings—namely, that Defendant is a flight right and the U.S. Marshals
6     Service have reasonable procedures in place to ensure that the medical needs of persons
7     in its custody are met. Regarding Defendant’s request for the immediate provision of eye
8     drops, government counsel provided the list of prescriptions recommended by Dr. Tanaka
9     to a Deputy U.S. Marshal, who is providing the information to the new prison facility. In
10    short, the Marshals Service is actively taking steps to address Defendant’s medical needs,
11    including by moving him to a facility where they expect he will have access to appropriate
12    medical care.
13
       Dated: May 22, 2024
14
                                              Respectfully submitted,
15
                                              DAVID C. WEISS
16                                            Special Counsel
17
                                              /s/
18
                                              LEO J. WISE
19                                            Principal Senior Assistant Special Counsel
20                                            DEREK E. HINES
                                              Senior Assistant Special Counsel
21
                                              SEAN F. MULRYNE
22                                            CHRISTOPHER M. RIGALI
                                              Assistant Special Counsels
23
                                              United States Department of Justice
24

25

26
27

28

                                                       ii
     Case 2:24-cr-00091-ODW      Document 72     Filed 05/22/24   Page 3 of 7 Page ID #:1129



1                       MEMORANDUM OF POINTS AND AUTHORITIES
2                               I.     BACKGROUND & ARGUMENT
3
            On March 11, 2024, Defendant filed a motion seeking a “medical furlough” during
4
      which he would be released from custody for approximately 30 days. Specifically,
5
      Defendant sought release for surgery with a doctor in San Francisco and then to attend
6
      weekly post-operative care visits. Alternatively, if his furlough was denied, Defendant
7
      asked this Court to order the United States Marshals Service (“USMS”) to transport him
8
      to his surgery and post-operative visits.       On March 13, 2024, the Court denied
9
      Defendant’s motion, noting the established protocol for inmates to request and receive
10
      medical treatment through USMS and the local custodial facility, and concluding: “The
11
      Court finds the established protocol is reasonable, considering the limited resources of
12
      the USMS and the fact that he is presently housed in a large metropolitan area equipped
13
      with first-rate medical resources necessary to address defendant’s needs while not
14
      compromising the security interests of the government.” ECF No. 56. The Ninth Circuit
15
      affirmed this Court’s denial of Defendant’s motion. No. 24-1133, ECF No. 14. On March
16
      26, 2024, this Court also denied Defendant’s motion for reconsideration. ECF No. 63.
17
            On May 10, 2024, Defendant filed a renewed motion for the immediate provision
18
      of eye drops and a court order directing the immediate scheduling of, and transportation
19
      to, his eye surgery. ECF No. 67. On May 15, 2024, this Court denied Defendant’s motion
20
      as moot, noting that “surgery has been scheduled to take place in less than two weeks[.]”
21
      ECF No. 69.
22
            Defendant now files a second renewed motion seeking similar relief, i.e., (1) the
23
      immediate provision of eye drops and (2) a medical furlough so Defendant may pursue
24
      surgery with his doctor, Dr. Tanaka, in San Francisco. The Court should deny (once
25
      again) this extraordinary request for relief.
26
            Reading Defendant’s motion, government counsel was under the impression that it
27
      was the defense’s assertion that Defendant was receiving no eye drops whatsoever.
28
     Case 2:24-cr-00091-ODW     Document 72     Filed 05/22/24   Page 4 of 7 Page ID #:1130



1     Government counsel asked defense counsel (Mr. Chesnoff) this morning to specify the
2     prescriptions they believed Defendant needs; thereafter, defense counsel furnished the
3     name of three prescriptions recommended by Dr. Tanaka, and later filed a supplement to
4     the instant motion to that effect.    See ECF No. 71 (identifying three prescription
5     medications). Late this afternoon, a Deputy U.S. Marshal advised government counsel
6     that Defendant was actively receiving two medications for his eyes—both of which were
7     on the list furnished by defense counsel. Counsel Chesnoff subsequently confirmed that
8     Defendant is indeed already getting two of these prescriptions (but stated it is Dr.
9     Tanaka’s view that Defendant needs all three). As such, it is not the case that Defendant
10    is not receiving any prescription medication to address his apparent eye issues (and it is
11    not clear from Dr. Tanaka’s letter if he was aware Defendant is in fact receiving two of
12    these prescriptions). In any event, government counsel furnished a Deputy U.S. Marshal
13    with the list of prescriptions recommended by Dr. Tanaka, and the Deputy U.S. Marshal
14    confirmed he would provide that list to the facility where Defendant is housed.
15          The Marshals Service is also actively taking other steps to address Defendant’s
16    medical needs. Earlier today (May 22, 2024), a Deputy U.S. Marshal advised that, to
17    facilitate Defendant’s medical needs and access to certain care, the Marshals Service
18    requested to move Defendant to a Bureau of Prisons (“BOP”) facility—MDC Los
19    Angeles—where the Marshals Service expects Defendant to have access to medical care
20    that will address the issues he raises in his motion (whether at the facility or through
21    services provided by outside providers). Upon arrival at MDC Los Angeles, Defendant
22    will undergo a medical screening, where his current medical needs will be assessed and
23    treated accordingly.1 And again, the Deputy U.S. Marshal advised that he intends to
24    furnish MDC Los Angeles with the above-referenced prescription information provided
25

26
            1 Government counsel was advised today that the medical procedure that was
27    previously scheduled for next week is not currently on the schedule. It is anticipated that
28    once he receives his medical screening at MDC Los Angeles, any necessary appointments
      and procedures will be rescheduled.
                                                   2
     Case 2:24-cr-00091-ODW     Document 72     Filed 05/22/24   Page 5 of 7 Page ID #:1131



1     by defense counsel. The Deputy Marshal has advised that the transfer from the Santa
2     Ana City Jail to MDC Los Angeles will happen imminently. As with any inmate, the
3     government expects the inmate to receive, in accordance with applicable policies and
4     procedures, necessary medical treatment while in BOP and Marshals Service custody.
5           Defendant’s request for a medical furlough should be denied for the reasons argued
6     by the government in its prior briefings on this issue, see ECF Nos. 54, 62, 68; for the
7     reasons set forth by this Court in its previous orders denying the same request, see ECF
8     Nos. 56 & 63; and because Defendant presents a substantial flight risk as recognized by
9     both this Court and the Ninth Circuit, see ECF Nos. 15 & 46; No. 24-1133, ECF No. 14.
10    Further, Defendant’s request for immediate provision of eye drops should be denied
11    because the Marshals Service is actively taking steps to address Defendant’s medical
12    needs, including by (a) ensuring he is receiving prescription medication for his eyes; and
13    (b) expeditiously moving him to a facility where they expect he will have access to
14    medical care that he needs (including the specific issues raised in his motion(s)).
15                                       II.    CONCLUSION
16
            Based on the above, this Court should deny Defendant’s Second Renewed
17
      Emergency Ex Parte Motion for (1) Provision of Eye Drops, and (2) Medical Furlough.
18
19

20

21

22

23

24

25

26
27

28

                                                   3
     Case 2:24-cr-00091-ODW     Document 72     Filed 05/22/24   Page 6 of 7 Page ID #:1132



1                                   DECLARATION OF COUNSEL
2            I, Christopher M. Rigali, do hereby declare that the following statements are true
3
       and correct to the best of my knowledge and belief:
4

5            1. I am co-counsel of record for the United States of America in this case.

6            2. The assertions in the underlying brief are true and correct to the best of my
7
                knowledge and belief.
8

9            3. Undersigned counsel conferred with the United States Marshals Service
10              (“USMS”), specifically a Deputy U.S. Marshal, on May 22, 2024.
11
             4. The Deputy U.S. Marshal advised that, according to Santa Ana City Jail,
12

13              Defendant is currently receiving, on a daily basis, (a) timolol (twice per day),
14              and (b) bimatoprost (once every evening).
15
             5. The Deputy U.S. Marshal advised that, to further facilitate Defendant’s medical
16

17              needs, Defendant was being transferred from the Santa Ana City Jail to MDC
18              Los Angeles.
19
             6. The Deputy U.S. Marshal stated that he expects Defendant to have access to
20

21              medical care he needs once in a Bureau of Prisons facility. He also advised that
22
                Defendant would receive a medical screening upon intake at MDC Los Angeles.
23
                The Deputy U.S. Marshal advised he would specifically raise Defendant’s
24

25              medical concerns to the MDC Los Angeles staff.
26
27

28

                                                   4
     Case 2:24-cr-00091-ODW      Document 72         Filed 05/22/24   Page 7 of 7 Page ID #:1133



1                                     CERTIFICATE OF SERVICE
2            I hereby certify that on this date, I electronically filed the foregoing pleading with
3
       the Clerk of the Court using the CM/ECF system, which will send notification of such
4

5      filing to the attorneys of record for Defendant.

6
      Dated: May 22, 2024                      /s/
7

8                                              LEO J. WISE
                                               Principal Senior Assistant Special Counsel
9
                                               DEREK E. HINES
10                                             Senior Assistant Special Counsel
11                                             SEAN F. MULRYNE
                                               CHRISTOPHER M. RIGALI
12                                             Assistant Special Counsels
13

14

15

16

17

18
19

20

21

22

23

24

25

26
27

28

                                                       5
